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United States District Court
District of Mhssachusetts

 

UNITED STATES of AMERICA,

Criminal Action No.
16-10305-NMG

v.
MARTIN GOTTESFELD,

Defendant.

guys-agyva

 

ORDER
GORTON, J.
The Court directs the CJA Duty Attorney scheduled for
Thursday, January 10, 2019, to appear at the sentencing hearing
11:30 677/g

for Martin Gottesfeld at ki:$© A.M. that day to act as standby

counsel for the defendant. The Duty Attorney should review the
government’s sentencing memorandum and assist with any

procedural issues that may arise at that hearing and about which

Mr. Gottesfeld may have questions.

So ordered.

?7@% MJ~MZM

Nathaniel M. Gorton
United States District Judqe
Dated January¢? , 2019

